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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

TIMOTHY MILLER,

       Plaintiff,                                  Case No. 19-cv-00640

v.                                                 Honorable Judge John J. Tharp Jr.

GLENBARD TOWNSHIP HIGH SCHOOL                      Honorable Magistrate Judge Susan E. Cox
DISTRICT #87,

       Defendant.


                         JOINT MOTION TO EXTEND DISCOVERY

       Plaintiff, Timothy Miller, and Defendant, Glenbard Township High School District #87,

by and through their undersigned counsel, state as follows as their Joint Motion to Extend

Discovery:

       1.        On May 30, 2019, the Court set a discovery deadline of December 2, 2019.

[Dkt. # 18].

       2.        The parties fulfilled their Mandatory Initial Discovery obligations on schedule, on

June 17, 2019.

       3.        Plaintiff subsequently served his written discovery to Defendant on July 29, 2019

and Defendant served its written discovery to Plaintiff on August 19, 2019.

       4.        Both parties have responded to written discovery and have engaged in extensive

meet and confer correspondence and telephonic discussion to resolve discovery issues.

       5.        As of October 20, 2019, the parties have largely resolved any outstanding issues

regarding written discovery. Defendant has indicated it is searching for some responsive




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documents and expects to produce them by November 8, 2019, at which point the parties can

begin scheduling depositions.

        6.     Plaintiff anticipates taking approximately 4-7 depositions. Defendant anticipates

taking approximately 1-3 depositions. The Parties are in the process of completing written

discovery and expect to be in a position to begin depositions in late November, 2019.

        7.     The Parties request an extension of the deadline to complete discovery until

February 28, 2020, due to the School District’s calendar and counsel’s schedules.

        8.     The majority of the expected deponents are current teachers and administrators

employed by the District. Due to the upcoming Thanksgiving holiday, the end of the semester

and final exams, and the District’s winter break, most District personnel will have limited

availability from late November through the end of winter break on January 7, 2020.

        9.     Additionally, the District’s counsel will be occupied with evidentiary hearings in

several pending employee dismissal proceedings in much of November 2019 and January 2020.

        10.    The Parties expect that fact discovery can be completed by the end of February,

2020.

        11.    The Parties have not previously requested an extension of discovery in this case.

The proposed extension will not prejudice any party and will not substantially delay the

resolution of this matter.

        WHEREFORE Plaintiff, Timothy Miller, and Defendant, Glenbard Township High

School District #87, ask that this Court enter an Order granting this Motion and extending the

deadline to complete discovery until February 28, 2020, and for such other and further relief as is

appropriate.




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Dated: November 7, 2019                      RESPECTFULLY SUBMITTED,

By: /s/ Ethan E. White                       By: /s/ Nicki B. Bazer
Ethan Emery White                            Nicki B. Bazer
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Counsel for Plaintiff                        Counsel for Defendant




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                               CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that she filed the foregoing JOINT MOTION

TO EXTEND DISCOVERY with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to the following counsel of record on this 7th day of November,

2019.

                             Ethan E. White
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                                                           /s/ Nicki B. Bazer
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